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                                          EXHIBIT 1

                                     Amended Status Chart




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                                       EXHIBIT A




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             DOCKET
                                                 RESPONDENT                                                        STATUS
             NUMBER
                 416         Shelbyville Road Plaza LLC                               The Debtors believe that the objection will be resolved through the
                                                                                      proposed confirmation order that will be filed prior to the
                                                                                      confirmation hearing.
                 434         Robinson Crossing, LLC                                   Resolved – Objection withdrawn.
                 438         277 Canal Associates, LLC                                Resolved – Objection withdrawn.
                     1
                 465         Columbus North Associates, LP, et al.                    The Debtors have partially resolved the objection and are working to
                                                                                      resolve the remainder.
                 470         V&V Lakeshore, Ltd.                                      Resolved – Objection withdrawn.
                 471         Towne Cross Burlington LLC                               The Debtors are continuing to analyze the objection.
                 472         Plato Pavlatos                                           The Debtors are engaged with the objecting party and working to
                                                                                      resolve the objection.
                 473         1276 Lex Owner, LLC                                      The Debtors believe that the objection will be resolved through the
                                                                                      proposed confirmation order that will be filed prior to the
                                                                                      confirmation hearing.
                 474         Grapevine Pavilion Investment, Ltd.                      The Debtors believe that the objection will be resolved through the
                                                                                      proposed confirmation order that will be filed prior to the
                                                                                      confirmation hearing.
                 476         D3 Comstock Park, LLC                                    Resolved – Objection withdrawn.
                 482         CBL & Associates Management, Inc.                        The Debtors have partially resolved the objection and are working to
                                                                                      resolve the remainder.
                 484         MF Ohio LLC                                              The Debtors believe that the objection will be resolved through the
                                                                                      proposed confirmation order that will be filed prior to the
                                                                                      confirmation hearing.


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             A supplemental objection was filed at docket number 671.
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            DOCKET
                                      RESPONDENT                                                       STATUS
            NUMBER
                489   770 Real Estate Corp.                                The lease related to this objection has been rejected. Accordingly,
                                                                           the objection is moot.
                491   Rexford Industrial-SDLAOC, LLC                       The Debtors believe that the objection will be resolved through the
                                                                           proposed confirmation order that will be filed prior to the
                                                                           confirmation hearing.
                492   Market Square at Frederick, L.L.C., Davis Ford       The Debtors are engaged with the objecting party and working to
                      Crossing, LLC, and Potomac Festival, LLC             resolve the objection.
                493   Liberty Property Limited Partnership                 The Debtors believe that the objection will be resolved through the
                                                                           proposed confirmation order that will be filed prior to the
                                                                           confirmation hearing.
                497   EQYInvest Owner II, LTD, L.L.P.                      The Debtors believe that the objection will be resolved through the
                                                                           proposed confirmation order that will be filed prior to the
                                                                           confirmation hearing.
                498   EQYInvest Owner I, LTD, L.L.P.                       The Debtors believe that the objection will be resolved through the
                                                                           proposed confirmation order that will be filed prior to the
                                                                           confirmation hearing.
                499   Roxbury Partners Tempe, LLC                          Resolved – The lease related to this objection has been rejected.
                                                                           Accordingly, the objection is moot.
                500   New West Michigan Industrial Investors, L.L.C.       The Debtors believe that the objection will be resolved through the
                                                                           proposed confirmation order that will be filed prior to the
                                                                           confirmation hearing.
                502   Gator Entertainment, Inc.                            The Debtors believe that the objection will be resolved through the
                                                                           proposed confirmation order that will be filed prior to the
                                                                           confirmation hearing.
                503   Fourteen St. Owner Realty LLC                        The Debtors are engaged with the objecting party and working to
                                                                           resolve the objection.
                                                                       3




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             DOCKET
                                                 RESPONDENT                                                     STATUS
             NUMBER
                 504         Kay Realty LLC                                        The Debtors believe that the objection will be resolved through the
                                                                                   proposed confirmation order that will be filed prior to the
                                                                                   confirmation hearing.
                 505         Washington Prime Group Inc.                           The Debtors have partially resolved the objection and are working to
                                                                                   resolve the remainder.
                 506         Gainesville Archer Properties LLC                     The Debtors are continuing to analyze the objection.
                 507         Samuels & Associates Hingham LLC, IPT East            The Debtors have partially resolved the objection and are working to
                             Windsor DC LLC, and Seekonk Mall LLC                  resolve the remainder.
                 508         Almaden Ranch LLC and Arcadia Development             The Debtors are engaged with the objecting party and working to
                             Company                                               resolve the objection.
                 509         Russel Maridon and Brian Maridon                      Resolved – Objection withdrawn.
                 511         Forman Flatbrook LLC                                  The Debtors are continuing to analyze the objection.
                 512         Mann Enterprises, Inc.                                The Debtors are engaged with the objecting party and working to
                                                                                   resolve the objection.
                 5142        Canton Place Retail II, LLC                           Resolved – Objection withdrawal pending.
                 516         RRE Sunnyside Holdings LLC                            The Debtors believe that the objection will be resolved through the
                                                                                   proposed confirmation order that will be filed prior to the
                                                                                   confirmation hearing.
                 517         Green Circle Foundation LLC                           Resolved – Objection withdrawn.
                 519         Trailside Liberty Way, LLC                            The Debtors believe that the objection will be resolved through the
                                                                                   proposed confirmation order that will be filed prior to the
                                                                                   confirmation hearing.



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             A duplicate objection was filed at docket number 661.
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            DOCKET
                                        RESPONDENT                                                       STATUS
            NUMBER
                520   1400 SW Canal Blvd., LLC                              The Debtors believe that the objection will be resolved through the
                                                                            proposed confirmation order that will be filed prior to the
                                                                            confirmation hearing.
                521   3650 8th Street Becknell Investors, LLC               The Debtors are continuing to analyze the objection.
                524   PITV, Inc.                                            The Debtors are continuing to analyze the objection.
                525   CGP Willmar MF, LLC, CGP Jasper MF, LLC,              The Debtors are engaged with the objecting party and working to
                      CGP 2703 W. Deyoung Street MF, LLC, and CGP           resolve the objection.
                      Hanover MF, LLC
                526   First Industrial, L.P.                                The Debtors are continuing to analyze the objection.
                527   Craig Filice                                          The Debtors are engaged with the objecting party and working to
                                                                            resolve the objection.
                528   Serra Center Associates No. Two, LP and Serra         The Debtors are engaged with the objecting party and working to
                      Center Associates                                     resolve the objection.
                529   DC USA Operating Co., LLC                             The Debtors are continuing to analyze the objection.
                530   Fairway Pads, Ltd.                                    The Debtors are engaged with the objecting party and working to
                                                                            resolve the objection.
                531   Highland Ramblewood, LLC                              The Debtors are continuing to analyze the objection.
                532   National Shopping Plazas, Inc.                        The Debtors are continuing to analyze the objection.
                533   Lind North, L.L.C.                                    The Debtors are continuing to analyze the objection.
                534   Truman Property Group, L.L.C.                         The Debtors are continuing to analyze the objection.
                535   Mac Grove Station LLC                                 Resolved – Objection withdrawn.
                536   ARA Montgomery LLC                                    Resolved – Objection withdrawn.


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            DOCKET
                                       RESPONDENT                                                     STATUS
            NUMBER
                537   IREIT Olive Branch Wedgewood, L.L.C., et al.       The Debtors are engaged with the objecting party and working to
                                                                         resolve the objection.
                538   G&I VIII Hammond LLC                               The Debtors believe that the objection will be resolved through the
                                                                         proposed confirmation order that will be filed prior to the
                                                                         confirmation hearing.
                539   Shadelands Park, LLC                               The Debtors are continuing to analyze the objection.
                540   Donahue Schriber Realty Group, LP, Rocklin         Resolved – Objection withdrawn.
                      Crossings LP, and Rocklin Holdings, LP
                543   Linwood Mall LLC                                   The Debtors are engaged with the objecting party and working to
                                                                         resolve the objection.
                544   Thrifty Payless, Inc.                              The Debtors are engaged with the objecting party and working to
                                                                         resolve the objection.
                545   BobBullhead AZ, LLC                                The Debtors are engaged with the objecting party and working to
                                                                         resolve the objection.
                546   Great Barrington Real Estate, LLC                  The Debtors are engaged with the objecting party and working to
                                                                         resolve the objection.
                547   Rivercrest Realty Associates, LLC                  The Debtors are continuing to analyze the objection.
                550   PJB Corp.                                          The Debtors are engaged with the objecting party and working to
                                                                         resolve the objection.
                551   Associated Investors Group                         The Debtors are continuing to analyze the objection.
                552   Southlands HV1 LLC                                 The Debtors are continuing to analyze the objection.
                553   Mark and Pamela Walker                             The Debtors are engaged with the objecting party and working to
                                                                         resolve the objection.


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            DOCKET
                                       RESPONDENT                                                    STATUS
            NUMBER
                554   Country Glen LLC                                  The Debtors believe that the objection will be resolved through the
                                                                        proposed confirmation order that will be filed prior to the
                                                                        confirmation hearing.
                556   TRPF Marlton Square PAD LLC                       Resolved – The lease related to this objection has been rejected.
                                                                        Accordingly, the objection is moot.
                557   Colony Place Development, LLC                     The Debtors are continuing to analyze the objection.
                558   ST Indian Ridge LLC                               Resolved – Objection withdrawn.
                560   Lawrenceville Properties 222, LLC                 Resolved – The lease related to this objection has been rejected.
                                                                        Accordingly, the objection is moot.
                563   Hickory 72 LLC                                    The Debtors are engaged with the objecting party and working to
                                                                        resolve the objection.
                564   DJM NNN I, LLC and DJM NNN III, LLC               The Debtors have partially resolved the objection and are working to
                                                                        resolve the remainder.
                566   Coshena VI, Ltd.                                  The Debtors believe that the objection will be resolved through the
                                                                        proposed confirmation order that will be filed prior to the
                                                                        confirmation hearing.
                567   Parmatown Station LLC                             The Debtors are engaged with the objecting party and working to
                                                                        resolve the objection.
                568   Canyon Park Properties, LLC                       The Debtors are continuing to analyze the objection.
                569   PREP Hanover Real Estate LLC                      The Debtors believe that the objection will be resolved through the
                                                                        proposed confirmation order that will be filed prior to the
                                                                        confirmation hearing.
                572   Shadow Lake Towne Center, LLC                     The Debtors believe that the objection will be resolved through the
                                                                        proposed confirmation order that will be filed prior to the
                                                                        confirmation hearing.

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            DOCKET
                                        RESPONDENT                                                       STATUS
            NUMBER
                573   Aaron’s, Inc.                                         The Debtors are engaged with the objecting party and working to
                                                                            resolve the objection.
                574   Babson Macedonia Partners, LLC                        The Debtors are engaged with the objecting party and working to
                                                                            resolve the objection.
                575   Kimco Realty Corp.                                    The Debtors have partially resolved the objection and are working to
                                                                            resolve the remainder.
                576   OCG Alpha Development, LLC                            Resolved – The lease related to this objection has been rejected.
                                                                            Accordingly, the objection is moot.
                577   Kin Properties, Inc., et al.                          The Debtors have partially resolved the objection and are working to
                                                                            resolve the remainder.
                578   CAPREF Brookwood Village LLC                          The Debtors are engaged with the objecting party and working to
                                                                            resolve the objection.
                579   Lucerne-Ridgewood, LLC                                The Debtors are continuing to analyze the objection.
                580   EBA Blissful Real Estate LLC                          The Debtors are continuing to analyze the objection.
                582   255 Mall LLC                                          Resolved – Objection withdrawn.
                583   Running Hill SP LLC and Palm Beach Mall               The Debtors believe that the objection will be resolved through the
                      Holdings LLC                                          proposed confirmation order that will be filed prior to the
                                                                            confirmation hearing.
                584   W/S Ware Properties OP LLC and W/S Hadley             The Debtors have partially resolved the objection and are working to
                      Properties II LLC                                     resolve the remainder.
                585   Thomas R. Buckner                                     The Debtors are engaged with the objecting party and working to
                                                                            resolve the objection.
                587   Kancov Investment, L.P., Briar Group, L.P., and       The Debtors are engaged with the objecting party and working to
                      Hampton Mercury Investment Co.                        resolve the objection.

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            DOCKET
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            NUMBER
                588   Castle & Cooke Commercial-CA, Inc.                   The Debtors believe that the objection will be resolved through the
                                                                           proposed confirmation order that will be filed prior to the
                                                                           confirmation hearing.
                589   Six Cousins Realty, LLC                              Resolved – Objection withdrawn.
                590   Laguna Promenade, LLC                                The Debtors are continuing to analyze the objection.
                591   Twichell Properties, LLC                             The Debtors believe that the objection will be resolved through the
                                                                           proposed confirmation order that will be filed prior to the
                                                                           confirmation hearing.
                592   Folksan Realty Associates                            The Debtors are engaged with the objecting party and working to
                                                                           resolve the objection.
                593   ACF Property Management, Inc., et al.                The Debtors have partially resolved the objection and are working to
                                                                           resolve the remainder.
                594   Folksan Realty Associates                            Resolved – The lease related to this objection has been rejected.
                                                                           Accordingly, the objection is moot.
                595   LVP 161 James West, LLC                              The Debtors are continuing to analyze the objection.
                598   One Eleven La Quinta, LLC                            The Debtors believe that the objection will be resolved through the
                                                                           proposed confirmation order that will be filed prior to the
                                                                           confirmation hearing.
                599   IRC Hickory Creek, L.L.C., et al.                    The Debtors are engaged with the objecting party and working to
                                                                           resolve the objection.
                600   American Realty Advisors, et al.                     The Debtors have partially resolved the objection and are working to
                                                                           resolve the remainder.
                601   TKG El Con Center LLC, TKG Paxton Towne              The Debtors have partially resolved the objection and are working to
                      Center Development, LP, and TKG Spring Prairie       resolve the remainder.
                      Development IV, LLC

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            DOCKET
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            NUMBER
                602   Clybourn Center, LLC                               The Debtors believe that the objection will be resolved through the
                                                                         proposed confirmation order that will be filed prior to the
                                                                         confirmation hearing.
                603   Meadows Marketplace Shopping Center, LP and        The Debtors are continuing to analyze the objection.
                      UPSA Mayfaire LLC
                606   Cole MF Jonesboro AR LLC, et al.                   The Debtors have partially resolved the objection and are working to
                                                                         resolve the remainder.
                609   SPV Orland Park, LLC and VAT Orland Park,          The Debtors are engaged with the objecting party and working to
                      LLC                                                resolve the objection.
                610   T & V Property, LLC                                Resolved – Objection withdrawn.
                611   HART Miracle Marketplace, LLC                      The Debtors believe that the objection will be resolved through the
                                                                         proposed confirmation order that will be filed prior to the
                                                                         confirmation hearing.
                612   655 South Grand Avenue Owner, LLC, et al.          The Debtors have partially resolved the objection and are working to
                                                                         resolve the remainder.
                613   Cimco Realty, LLC                                  The Debtors believe that the objection will be resolved through the
                                                                         proposed confirmation order that will be filed prior to the
                                                                         confirmation hearing.
                615   Thaler Realty Corp.                                Resolved – The lease related to this objection has been rejected.
                                                                         Accordingly, the objection is moot.
                616   305 & 307 Ogden Avenue, LLC                        Resolved – Objection withdrawal pending.
                617   Prologis-North Carolina Limited Partnership        The Debtors believe that the objection will be resolved through the
                                                                         proposed confirmation order that will be filed prior to the
                                                                         confirmation hearing.


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             DOCKET
                                                 RESPONDENT                                                         STATUS
             NUMBER
                 618         Sugar3 LLC                                                The Debtors believe that the objection will be resolved through the
                                                                                       proposed confirmation order that will be filed prior to the
                                                                                       confirmation hearing.
                 619         Neighborhood Development Corporation                      The Debtors are continuing to analyze the objection.
                 620         VBV Regency, LLC                                          The Debtors are continuing to analyze the objection.
                 621         Tag Realty, LLC                                           The Debtors are engaged with the objecting party and working to
                                                                                       resolve the objection.
                 6223        Agree Baton Rouge LA, LLC, et al.                         The Debtors have partially resolved the objection and are working to
                                                                                       resolve the remainder.
                 624         SG National, LLC                                          The Debtors are continuing to analyze the objection.
                 625         Falconi Realty Co., LLC                                   Resolved – The lease related to this objection has been rejected.
                                                                                       Accordingly, the objection is moot.
                 626         CFT NV Developments, LLC and CFT                          The Debtors have partially resolved the objection and are working to
                             Developments, LLC                                         resolve the remainder.
                 627         Bruce and Karen Wiener 1985 Trust                         The Debtors are continuing to analyze the objection.
                 628         DAR Northchase, LLC                                       The Debtors believe that the objection will be resolved through the
                                                                                       proposed confirmation order that will be filed prior to the
                                                                                       confirmation hearing.
                 630         Frontier Clermont LLC                                     The Debtors believe that the objection will be resolved through the
                                                                                       proposed confirmation order that will be filed prior to the
                                                                                       confirmation hearing.
                 631         Dwulet and Dwulet GP, et al.                              The Debtors are continuing to analyze the objection.


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             Supplemental objections were filed at docket numbers 676 and 807.
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            DOCKET
                                      RESPONDENT                                                      STATUS
            NUMBER
                632   VEREIT Real Estate, L.P., et al.                   The Debtors have partially resolved the objection and are working to
                                                                         resolve the remainder.
                633   MGP X Properties, LLC, MGP XI US Properties        The Debtors are continuing to analyze the objection.
                      LLC, and M&H VI Projects, LLC
                634   Prologis USLV Subriet 4, LLC                       The Debtors are continuing to analyze the objection.
                635   JBL Preston Ridge, LLC, et al.                     The Debtors have partially resolved the objection and are working to
                                                                         resolve the remainder.
                636   C4 Elion, LLC                                      The Debtors believe that the objection will be resolved through the
                                                                         proposed confirmation order that will be filed prior to the
                                                                         confirmation hearing.
                637   AmCap Cowesett II LLC                              The Debtors are engaged with the objecting party and working to
                                                                         resolve the objection.
                638   TRT Beaver Creek LLC                               The Debtors have partially resolved the objection and are working to
                                                                         resolve the remainder.
                639   AmCap Tiffany LLC                                  The Debtors are continuing to analyze the objection.
                641   557 Rt. 130 in EWT, LLC                            Resolved – The lease related to this objection has been rejected.
                                                                         Accordingly, the objection is moot.
                642   M&B Grand Junction, LLC                            The Debtors believe that the objection will be resolved through the
                                                                         proposed confirmation order that will be filed prior to the
                                                                         confirmation hearing.
                643   Retail Opportunity Investments Corp.               The Debtors are continuing to analyze the objection.
                645   Salisbury Innes Street, LLC and MDS Investments    The Debtors believe that the objection will be resolved through the
                      II, LLC                                            proposed confirmation order that will be filed prior to the
                                                                         confirmation hearing.

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            DOCKET
                                         RESPONDENT                                                 STATUS
            NUMBER
                646   Ramco Properties Trust, et al.                   The Debtors have partially resolved the objection and are working to
                                                                       resolve the remainder.
                647   Carpet Land Inc.                                 The Debtors are continuing to analyze the objection.
                650   Dash Family 2009 Trust                           The Debtors have partially resolved the objection and are working to
                                                                       resolve the remainder.
                659   1993 Pulaski Highway LLC, et al.                 The Debtors have partially resolved the objection and are working to
                                                                       resolve the remainder.
                666   UE Property Management LLC                       The Debtors are continuing to analyze the objection.
                667   WFC Fund I Legacy, LLC                           The Debtors are continuing to analyze the objection.
                668   WFC Fund II Pablo, LLC                           The Debtors are continuing to analyze the objection.
                719   IVT Parke Cedar Park, LLC, et al.                The Debtors have partially resolved the objection and are working to
                                                                       resolve the remainder.
                786   Edgewood Retail LLC                              The Debtors believe that the objection will be resolved through the
                                                                       proposed confirmation order that will be filed prior to the
                                                                       confirmation hearing.
                787   Market Town Center Owner, LLC -- Store 001017    The Debtors believe that the objection will be resolved through the
                                                                       proposed confirmation order that will be filed prior to the
                                                                       confirmation hearing.
                788   Market Town Center Owner, LLC -- Store 001192    The Debtors believe that the objection will be resolved through the
                                                                       proposed confirmation order that will be filed prior to the
                                                                       confirmation hearing.
                789   SF Zephyr Commons, LP                            The Debtors are engaged with the objecting party and working to
                                                                       resolve the objection.
                791   Essex Property Trust, Inc.                       The Debtors are continuing to analyze the objection.

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            NUMBER
                806   AFI Columbus, LLC                             The Debtors are continuing to analyze the objection.
                808   Osceola D & J Lot 5, LLC                      The Debtors believe that the objection will be resolved through the
                                                                    proposed confirmation order that will be filed prior to the
                                                                    confirmation hearing.




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                                   RESPONDENT                                                          STATUS
           Fitzwill Properties c/o The Shopping Center Group, LLC           Resolved.
           The Vienna Shopping Center Limited Partnership c/o Rappaport     Resolved.
           Management Company
           TT MT. Airy LLC c/o Rappaport Management Company                 Resolved.
           Cocca Development, LTD.                                          Resolved.
           JBL Flamingo Pines, LLC c/o JBL Asset Management, LLC            Resolved.
           LHCT-DKS Partners, L.P., LHCT-JBS Partners L.P., LHCT-           Resolved.
           PBS Partners, L.P., and HCT-SHS Partners, L.P. c/o Rosewood
           Management Corporation
           Grand Canyon Center LP                                           Resolved.
           Pembroke Place Property, LLC                                     Resolved.
           Grand Plaza Owner LLC c/o Treeview Real Estate Advisors LP       Resolved.
           1855 Park, LLC                                                   Resolved – The lease related to this objection has been rejected.
                                                                            Accordingly, the objection is moot.
           KRG New Hill Place I, LLC c/o Kite Realty Group, LP              Resolved – The lease related to this objection has been rejected.
                                                                            Accordingly, the objection is moot.
           Gabrellian Associates                                            The Debtors are engaged with the objecting party and working to
                                                                            resolve the objection.
           Kite West 86th Street II, LLC c/o Kite Realty Group, LP          The Debtors are engaged with the objecting party and working to
                                                                            resolve the objection.
           Cerritos Promeade, LLC c/o America West Properties               The Debtors are engaged with the objecting party and working to
                                                                            resolve the objection.
           JBL Preston Ridge, LLC23D c/o JBL Asset Management, LLC          The Debtors are engaged with the objecting party and working to
                                                                            resolve the objection.

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           Church Lane Shops LLC c/o Maryland Financial Investors          The Debtors are engaged with the objecting party and working to
                                                                           resolve the objection.
           MFB Glenville Owner LLC c/o RD Management LLC                   The Debtors are engaged with the objecting party and working to
                                                                           resolve the objection.
           Waterstone Retail Epping, LLC                                   The Debtors believe that the objection will be resolved through the
                                                                           proposed confirmation order that will be filed prior to the
                                                                           confirmation hearing.
           HC Holdings LLC, c/o C and R Management LLC                     The Debtors believe that the objection will be resolved through the
                                                                           proposed confirmation order that will be filed prior to the
                                                                           confirmation hearing.
           Kahl & Goveia/Magnolia Taxes                                    The Debtors are continuing to analyze the objection.
           Maxim Enterprises, LLC                                          The Debtors are continuing to analyze the objection.
           JBL Lake Walden, LLC, JBL Lake Walden 2, LLC, and JBL           The Debtors are continuing to analyze the objection.
           Lake Walden 3 LLC c/o JBL Asset Management, LLC
           Dial Realty - Cheyenne Mountain II, LLC                         The Debtors are continuing to analyze the objection.
           CT Kennedy Marketplace, LLC                                     The Debtors are continuing to analyze the objection.
           Heb Hop LP D/B/A CMK Bloomington, LLC c/o Newmark               The Debtors are continuing to analyze the objection.
           Grubb Zimmer
           OCW Retail-Rochester, LLC c/o The Wilder Companies, Ltd.        The Debtors are continuing to analyze the objection.
           235 Boston Post Road, LLC c/o Crosspoint Associates, Inc.       The Debtors are continuing to analyze the objection.
           Karen and Joseph Calcagno                                       The Debtors are continuing to analyze the objection.
           Prologis Texas III LLC                                          The Debtors are engaged with the objecting party and working to
                                                                           resolve the objection.
           DCT OTA Farms LLC                                               The Debtors are engaged with the objecting party and working to
                                                                           resolve the objection.


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           DCT/SPF Pinnacle IX LLC                                         The Debtors are engaged with the objecting party and working to
                                                                           resolve the objection.
           Hamilton Town Center                                            The Debtors are engaged with the objecting party and working to
                                                                           resolve the objection.
           Crosspointe Developers, LLC                                     The Debtors are continuing to analyze the objection.
           Mansfield Plaza, LLC                                            The Debtors are continuing to analyze the objection.
           Regent Shopping Center                                          The Debtors are continuing to analyze the objection.
           Fidelis Realty Partners, Ltd.                                   The Debtors are engaged with the objecting party and working to
                                                                           resolve the objection.




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